                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:
                                                                  Case No. 10-66998
         CHRISTINA BRADDY,                                        Chapter 7
                                                                  Hon. Walter Shapero
                  Debtor,
______________________________/

         FLOYD GILL, JR.,

                        Plaintiff,

v.                                                                Adversary No. 10-07372

         CHRISTINA BRADDY,

                  Defendant.
______________________________/


                  ORDER FINDING ALLEGED DEBT DISCHARGEABLE
                           AND DENYING OTHER RELIEF

         For the reasons set forth in the Court’s Opinion on May 18, 2012, IT IS HEREBY

ORDERED that (1) Plaintiff’s alleged debt is dischargeable; and (2) all other relief sought by

Plaintiff is denied.
                                                      .



Signed on May 18, 2012
                                                               /s/ Walter Shapero
                                                           Walter Shapero
                                                           United States Bankruptcy Judge




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